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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




JOHNSON & JOHNSON HEALTH CARE
SYSTEMS INC.,

                      Plaintiff,

        v.

ROBERT F. KENNEDY, JR., in his official
capacity, and U.S. DEPARTMENT OF HEALTH
                                                              Civil Action No. 1:24-cv-3188
AND HUMAN SERVICES,

and

THOMAS J. ENGELS, in his official capacity, and
HEALTH RESOURCES AND SERVICES
ADMINISTRATION,

                      Defendants.


  PLAINTIFF’S MOTION TO STRIKE PORTIONS OF PROPOSED AMICUS BRIEF
              THAT RELY UPON EXTRA-RECORD MATERIAL

       Plaintiff Johnson & Johnson Health Care Systems Inc. (“J&J”) respectfully moves the

Court to strike the extra-record material filed as part of the Amicus Curiae Brief of American

Hospital Association, National Association of Children’s Hospitals, Inc., d/b/a Children’s Hospital

Association, Association of American Medical Colleges, and America’s Essential Hospitals

(“AHA Brief”), ECF No. 33-1. Specifically, J&J moves to strike all portions of the AHA Brief

that discuss the responses from a survey of hospitals that AHA claims it conducted, as discussed

on pages 4 and 19-23 of the brief.

       Any reference to the survey results should be struck because the materials are not part of

the Administrative Record for the agency action in this case. Further, the extra-record materials
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are unreliable and inconsistent with other evidence properly made part of the record. The grounds

for this Motion to Strike are further set forth in the accompanying memorandum. Pursuant to

Local Civil Rule 7(m), J&J has conferred with Defendants, who indicated that they take no position

on the motion.



DATED: March 17, 2025


                                              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I certify that on March 17, 2025, I filed the foregoing with the Clerk of the Court using

the ECF System, which will send notification of such filing to the registered participants

identified on the Notice of Electronic Filing.

                                                 /s/ Jeffrey L. Handwerker
                                                 Jeffrey L. Handwerker




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